     Case 3:16-md-02741-VC           Document 20681         Filed 05/28/25      Page 1 of 1




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER DENYING MOTION FOR
                                                   LEAVE TO FILE RENEWED MOTION
   Ginkel v. Monsanto Co.,                         FOR RECONSIDERATION
   Case No. 3:22-cv-00358-VC
                                                   Re: Dkt. No. 20662


       The motion for leave to file a renewed motion for reconsideration in the above captioned

matter is denied. There has been no material change of fact or law justifying a reevaluation of the

Court’s order denying Ginkel’s first motion for leave to file a motion for reconsideration. See

Dkt. No. 20408. Ginkel misunderstands the import of the Court’s tentative ruling in Abel (Case

No. 3:21-cv-7124-VC). Abel was merely classified as overweight, not obese. See Dkt. No. 20472

at 7. The evidence of a link between obesity and NHL is much stronger, and the failure to

meaningfully consider this issue will always, on its own, be a basis for excluding an expert

opinion.

       IT IS SO ORDERED.

Dated: May 28, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
